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MONIQUE CHARLENE TILLMAN, and ERIC
BRANCH.,

VS.

JARED WILLIAMS and THE CITY OF
TACOMA,

Case 3:16-cV-05794-RBL Documént.152 Filed 03/22/18 Page 1 of 4

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

Plaintiffs,

C16-5794RBL

 

Defendants.

 

 

JURY NOTES

 

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Case 3:16-cV-05794-RBL Document 152 Filed 03/22/18 Page 3 of 4

 

 

 

 

 

 

 

 

 

 

  

 

   

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Case 3:16-cV-05794-RBL Document 152 Filed 03/22/18 Page 4 of 4

NOTE FROM JURY

DATE: TIME:

 

 

 

 

 

 

Foreperson / JUROR NAME #

RESPONSE

DATED: 3~;2.~|¢? TIME; @1"'°1
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RONALD B. LEIGHTC)N
.United States District Judge

